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                                                         令和元年 10 月 18 日
   関係者各位
                                           再生債務者 株式会社ＭＴＧＯＸ
                                           再生管財人 弁護士 小 林 信                 明


              債権届出期間経過後の再生債権届出に関するお知らせ


    株式会社 MTGOX（以下「MTGOX」といいます。）の民事再生手続における再生債
   権の届出期間は、平成 30 年 10 月 22 日（日本時間）で終了しました。


    債権者の責めに帰することのできない事由によって債権届出期間内に再生債
   権の届出ができなかった場合には、その事由が消滅した後 1 か月以内に限り届
   出を行うことができます。債権届出期間経過後になされた再生債権の届出が有
   効なものとして認められるかどうかは、裁判所によって判断されますが、債権
   者の多くが日本国外に居住していることに鑑み、再生管財人は、本年 11 月 18
   日までに管財人室に到達した債権届出書については、原則として適法な届出と
   して取り扱うべきとの意見を、東京地方裁判所へ上申する方針です。


    しかし、既に債権届出期間の末日から 1 年を経過しようとしており、これま
   でも債権届出に関するお知らせを複数回してきたことから、その後に管財人室
   に到達した債権届出書については、原則として再生管財人は裁判所に対してそ
   の旨の意見を述べない予定です。

    これから再生債権の届出を行うことを希望する債権者は、以下のリンクから
   再生債権届出書の書式をダウンロードし、コンピュータ上で必要事項を入力し、
   印刷して署名又は記名押印したものを、至急、以下の再生管財人室宛てに郵送
   してください（以下「オフライン方法」といいます。）。上記のとおり、債権届
   出期間経過後になされた再生債権の届出が有効なものとして認められるかどう
   かは、最終的には裁判所によって判断されることにご留意ください。


      再生債権届出書の郵送先
       株式会社 MTGOX 再生管財人室
       〒102-0083 東京都千代田区麹町三丁目 4 番地 1 麹町 3 丁目ビル                    202 号室


      再生債権届出書の書式は以下のリンクからダウンロードしてください。
       https://claims.mtgox.com/files/mtgox-offline-claim.pdf

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          オフライン方法で再生債権の届出を行う方法は、以下の記載要領をご参照く
           ださい。
           https://www.mtgox.com/img/pdf/201810_offline_how_to_ja.pdf


    また、再生管財人は、以下のとおり、再生債権の届出に関する Q&A 及び FAQ
   を掲載しておりますので、併せてご参照ください。


            再生債権の届出に関する Q&A：
             https://www.mtgox.com/img/pdf/20180823_qa_ja.pdf
            再生債権届出についてよくあるご質問：
             https://www.mtgox.com/img/pdf/20180921_faq_ja.pdf
            債権届出期間経過後の再生債権届出に関する基本的な Q&A：
             https://www.mtgox.com/img/pdf/20190628_qa_ja.pdf

       再生債権の届出に関する不明点の問合せの窓口は以下のとおりです。
          コールセンター
           電話番号 03-4588-3921
           受付時間 月曜日～金曜日（日本の祝日を除く）
                午前 10 時～午後 5 時（日本時間）


          メールサポート
           support@mtgox.com
           なお、メールサポートでは多数の問合せを受領しているため、返信がタイム
           リーになされない可能性があることにつき、予めご了承ください。


    再生管財人の事務所への直接のお問い合わせ、E メールによるお問い合わせ
   等は対応ができませんので、おやめくださいますようお願いいたします。


                                                                          以上




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                                                                             October 18, 2019
   To whom it may concern:
                         Rehabilitation Debtor: MTGOX Co., Ltd.
                         Rehabilitation Trustee: Nobuaki Kobayashi, Attorney-at-law


     Announcement regarding Proofs of Rehabilitation Claims Filed after Deadline

     The period for filing proofs of rehabilitation claims in the civil rehabilitation
   proceedings for MTGOX Co., Ltd. (“MTGOX”) ended on October 22, 2018 (Japan
   time).


      If filings are delayed for reasons not attributable to creditors, they may file a proof of
   their rehabilitation claim only within one month after the relevant grounds cease to exist.
   The court will determine whether proofs of rehabilitation claims filed after the deadline
   will be accepted is determined by the court. However, taking into consideration that
   the majority of the creditors reside outside Japan, the Rehabilitation Trustee intends to
   submit an opinion to the Tokyo District Court that proofs of rehabilitation claims being
   delivered to the Office of the Rehabilitation Trustee by November 18 of this year should
   be accepted in principle.


      However, in light of the fact that it has been almost one year since the end of the
   period for filing proofs of rehabilitation claims and further that the Rehabilitation
   Trustee made announcement on the filing of proofs of rehabilitation claims several
   times, in principle, THE REHABILITATION TRUSTEE PLANS NOT TO SUBMIT
   AN OPINION TO THE SAME EFFECT TO THE TOKYO DISTRICT COURT FOR
   THE PROOFS OF REHABILITATION CLAIMS DELIVERED TO THE OFFICE OF
   THE REHABILITATION TRUSTEE THEREAFTER.


      Going forward, for creditors who wish to file proofs of rehabilitation claims, please
   download a proof of rehabilitation claim form from the link below, fill in the necessary
   information thereon on your computer, and then send a printed version, on which you
   have affixed your seal or signature, to the Office of the Rehabilitation Trustee by post to
   the address below (the “Offline Method”) immediately. Please note that, as
   explained above, whether proofs of rehabilitation claims filed after deadline will be
   accepted shall be determined by the court.



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          Postal address for proof of rehabilitation claim forms:
           MTGOX Co., Ltd. Office of Rehabilitation Trustee
           Suite 202, Kojimachi 3-chome Building
           3-4-1 Kojimachi, Chiyoda-ku,
           Tokyo Japan 102-0083


          Please download the proof of rehabilitation claim form found by accessing the
           following link: https://claims.mtgox.com/files/mtgox-offline-claim.pdf


          Please refer to the guideline found by accessing the following link for how to file a
           proof of rehabilitation claim by the Offline Method:
           https://www.mtgox.com/img/pdf/201810_offline_how_to_en.pdf


         Please also refer to the Q&A and FAQ regarding the filing of proofs of
       rehabilitation claims posted by the Rehabilitation Trustee as below when filing proofs
       of rehabilitation claims.


            Q&As for Filing Proofs of Rehabilitation Claims:
             https://www.mtgox.com/img/pdf/20180823_qa_en.pdf
            Frequently Asked Questions regarding Filing Proofs of Rehabilitation Claims:
             https://www.mtgox.com/img/pdf/20180921_faq_en.pdf
            Basic Q&A regarding Proofs of Rehabilitation Claims Filed after Deadline
             http://www.mtgox.com/img/pdf/20190628_qa_en.pdf


         For inquiries about filing proofs of rehabilitation claims, kindly contact the
       following:


          Call center
           Telephone Number: +81-3-4588-3922
           Operation hours:  Monday to Friday (excluding Japanese public holidays)
                             1:00 pm to 10:00 pm (Japan time)


          E-mail support
           mailto: support@mtgox.com
           Please note that our responses to your inquiries may not necessarily be timely since
           we have received many inquiries.

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     Inquiries made directly to the Office of the Rehabilitation Trustee, whether by email
     or otherwise, cannot be responded to, so please refrain from directly contacting the
     Office.


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